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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-03544 -RMR-NRN

   LENA RAMSAY and JANE DOE,

          Plaintiffs,

   v.

   FRONTIER, INC.

        Defendant.
   ______________________________________________________________________

                 STIPULATION OF DISMISSAL WITH PREJUDICE
   ______________________________________________________________________

          IT IS HEREBY STIPULATED AND AGREED, by and between the parties, that

   this action is hereby dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the

   Federal Rules of Civil Procedure, and the parties bear their own respective costs and

   attorney’s fees.

   Dated July 9, 2021

   /s/ Brian T. Maye                           /s/ Gabriel Panek (with consent)
   Brian T. Maye                               Jonathan D. Selbin
   Kristin A. Hoffman                          Annika K. Martin
   ADLER MURPHY & MCQUILLEN LLP                Anne B. Shaver (Colorado Bar No.
   20 South Clark Street, Suite 2500           39933)
   Chicago, IL 60603-1804                      Gabriel Panek
   Tel: (312) 345-0700                         LIEFF CABRASER HEIMANN &
   bmaye@amm-law.com                           BERNSTEIN, LLP
   khoffman@amm-law.com                        250 Hudson Street, 8th Fl.New
                                               York, NY 10013
   Counsel for Defendant                       Tel: (212) 355-9500
                                               jselbin@lchb.com
                                               akmartin@lchb.com
                                               ashaver@lchb.com
                                               gpanek@lchb.com
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                                           Tyler H. Fox
                                           TYLER FOX, ESQ.
                                           689 Massachusetts Ave.
                                           Cambridge, MA 02139
                                           Tel: (617) 499-4399
                                           tylerfox@verizon.net

                                           Pamela Maass (Colorado Bar No.
                                           42408)
                                           MAASS LAW
                                           26 W. Dry Creek Cir., Suite 600
                                           Littleton, CO 80120
                                           Tel: (720) 899-3541
                                           pam@lifelegacyfirm.com

                                           Counsel for Plaintiffs




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